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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

VERONICA KARIUKI,                                   :
                                                    :
               Plaintiff,                           :
                                                    :       Case No. 1:15-cv-00934-TSE-JFA
       v.                                           :
                                                    :
ETEAM, INC.,                                        :
                                                    :
               Defendant.                           :

         DEFENDANT ETEAM, INC.’S MEMORANDUM IN SUPPORT OF ITS
          MOTION TO STRIKE PLAINTIFF’S EXPERT DISCLOSURES AND
            EXCLUDE PLAINTIFF’S EXPERTS OR, ALTERNATIVELY,
                    DEFENDANT’S MOTION TO COMPEL

       Defendant eTeam, Inc. (“eTeam”), by counsel, Carr Maloney P.C., and pursuant to Rules

16(f) and 37 of the Federal Rules of Civil Procedure and Local Civil Rules 7, 26, and 37, submits

this Memorandum in support of its Motion to Strike Plaintiff’s Expert Disclosures and Exclude

Plaintiff’s Experts, or Alternatively, Defendant’s Motion to Compel, and states as follows:

I.     BACKGROUND

       Pursuant to this Court’s Rule 16(b) Order dated October 13, 2015, Plaintiff was required

to file her initial expert disclosures by November 16, 2015. See Dkt. #9. On November 16,

2015, Plaintiff filed her Expert Witness Disclosure, in which she identified eight expert

witnesses to be called at the trial in this matter. See Dkt. #12. The report of only one of

Plaintiff’s eight designated experts (Joseph Migliozzi) accompanied her disclosure. See id.

       On December 31, 2015, eTeam’s counsel emailed Plaintiff’s counsel requesting that

Plaintiff provide the reports for the seven expert witnesses whose reports were not produced in
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conjunction with Plaintiff’s Expert Witness Disclosure. 1 See Exhibit 1. On January 4, 2015,

eTeam’s counsel again emailed Plaintiff’s counsel reiterating its request for written reports of

Plaintiff’s experts. See id. To date, Plaintiff still has not produced written reports of the

following designated experts: Dr. Sumitra Easwaran; Dr. John Lee; Dr. Rajeev Verma; Julia

Isaacs; Regina McCombs; Dr. John Youk; and Dr. Sheena Abraham.

II.     ARGUMENT

        Rule 37(b)(2) of the Federal Rules of Civil Procedure (“FRCP”) provides that if a party

fails to obey an order to provide or permit discovery, including an order under FRCP 16(b), the

Court may issue further just orders, which may, inter alia, prohibit the disobedient party from

supporting or opposing designated claims or defenses or from introducing designated matters in

evidence, strike pleadings in whole or in part, or stay further proceedings until the order is

obeyed. See Fed. R. Civ. P. 37(b)(2).

        Pursuant to this Court’s Rule 16(b) Order, Plaintiff was required to file her initial expert

disclosures by November 16, 2015. See Dkt. #9. FRCP 26(a)(2)(B) provides that this disclosure

“must be accompanied by a written report—prepared and signed by the witness—if the witness

is one retained or specially employed to provide expert testimony in the case[.]” See Fed. R.

Civ. P. 26(a)(2)(B). The Rule then sets forth various information that must be contained within

the report. See id.

        Plaintiff has failed to comply with this Court’s Rule 16(b) Order because she has failed to

produce the written reports of seven of her eight disclosed witnesses: Dr. Sumitra Easwaran; Dr.

John Lee; Dr. Rajeev Verma; Julia Isaacs; Regina McCombs; Dr. John Youk; and Dr. Sheena




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 Plaintiff has failed to produce the written reports for the following designated experts: Dr. Sumitra Easwaran; Dr.
John Lee; Dr. Rajeev Verma; Julia Isaacs; Regina McCombs; Dr. John Youk; and Dr. Sheena Abraham.

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Abraham. See Dkt. #12. Plaintiff, by not submitting the written reports of her experts, has

delayed eTeam from adequately preparing for trial.

III.   CONCLUSION

       For the foregoing reasons, Defendant eTeam, Inc. requests that this Court strike the

following experts from Plaintiff’s Expert Disclosure and exclude their expert testimony at trial:

Dr. Sumitra Easwaran; Dr. John Lee; Dr. Rajeev Verma; Julia Isaacs; Regina McCombs; Dr.

John Youk; and Dr. Sheena Abraham. In the alternative, Defendant eTeam, Inc. requests that

this Court order Plaintiff to produce written reports for the aforementioned experts and stay

further proceedings until Plaintiff do so.



                                             ETEAM, INC.
                                             By counsel

                                             CARR MALONEY P.C.



                                              /s/ Tina M. Maiolo
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was electronically filed this 8th day of
January, 2016 and served electronically upon:

                            J. Andrew Baxter
                            Merritt J. Green
                            Connie M. Ng
                            General Counsel, P.C.
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                            McLean, Virginia 22101


                                          /s/ Tina M. Maiolo
                                          Tina M. Maiolo




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